        Case 19-20620-GLT                       Doc 95        Filed 06/30/23 Entered 06/30/23 15:56:18                     Desc Main
     Fill in this information to identify the case:           Document Page 1 of 4
     Debtor 1              BONNIE KUNKLE


     Debtor 2
     (Spouse, if filing)

     Unites States Bankruptcy Court for the:   Western District of Pennsylvania
                                                                                    (State)
     Case Number:          19-20620GLT




Form 4100N
Notice of Final Cure Payment                                                                                                           10/15

File a separate notice for each creditor.

According to Bankruptcy Rule 3002.1(f), the trustee gives notice that the amount required to cure the prepetition default in the claim
below has been paid in full and the debtor(s) have completed all payments under the plan.


 Part 1:             Mortgage Information

                                                                                                              Court claim no. (if known):
 Name of creditor:                  KEYBANK NA S/B/M FIRST NIAGARA BANK NA                                          3-2

 Last 4 digits of any number you use to identify the debtor's account                         1   3   0   0

 Property Address:                             275 WENDEL RD
                                               IRWIN PA 15642




 Part 2:             Cure Amount


 Total cure disbursments made by the trustee:
 .
                                                                                                                           Amount

 a. Allowed prepetition arrearage:                                                                                   (a)   $        3,571.34

     b. Prepetition arrearage paid by the trustee :                                                                  (b)   $        3,571.34

     c. Amount of postpetition fees, expenses, and charges recoverable under Bankruptcy Rule 3002.1(c):              (c)   $           0.00

     d. Amount of postpetition fees, expenses, and charges recoverable under Bankruptcy Rule 3002.1(c)               (d)   $           0.00
        and paid by the trustee:
     e. Allowed postpetition arrearage:                                                                              (e)   $           0.00

 f.       Postpetition arrearage paid by the trustee :                                                             + (f)   $           0.00

     g. Total. Add lines b, d, and f.                                                                                (g)   $        3,571.34



 Part 3:             Postpetition Mortgage Payment

 Check one

         Mortgage is paid through the trustee .
         Current monthly mortgage payment                                                                                  $        $156.15
         The next postpetition payment is due on                 9 / 1 / 2026
                                                                MM / DD / YYYY

 ! Mortgage is paid directly by the debtor(s).


Form 4100N                                                        Notice of Final Cure Payment                                          page 1
    Case 19-20620-GLT                Doc 95    Filed 06/30/23 Entered 06/30/23 15:56:18                            Desc Main
                                               Document Page 2 of 4



Debtor 1     BONNIE KUNKLE                                                    Case number (if known) 19-20620GLT
             Name




 Part 4:     A Response Is Required By Bankruptcy Rule 3002.1(g)


 Under Bankruptcy Rule 3002.1(g), the creditor must file and serve on the debtor(s), their counsel, and the trustee, within 21
 days after service of this notice, a statement indicating whether the creditor agrees that the debtor(s) have paid in full the
 amount required to cure the default and stating whether the debtor(s) have (i) paid all outstanding postpetition fees, costs,
 and escrow amounts due, and (ii) consistent with § 1322(b)(5) of the Bankruptcy Code, are current on all postpetition
 payments as of the date of the response. Failure to file and serve the statement may subject the creditor to further action of
 the court, including possible sanctions.

 To assist in reconciling the claim, a history of payments made by the trustee is attached to copies of this notice sent to the
 debtor(s) and the creditor.




              "/s/ Ronda J. Winnecour
                    Signature
                                                                                 Date     06/30/2023


 Trustee            Ronda J. Winnecour

 Address            CHAPTER 13 TRUSTEE WD PA
                    600 GRANT STREET
                    SUITE 3250 US STEEL TWR
                    PITTSBURGH, PA 15219

 Contact phone      (412) 471-5566                                Email   cmecf@chapter13trusteewdpa.com




Form 4100N                                        Notice of Final Cure Payment                                             page 2
    Case 19-20620-GLT          Doc 95    Filed 06/30/23 Entered 06/30/23 15:56:18                           Desc Main
                                         Document Page 3 of 4



Debtor 1     BONNIE KUNKLE                                             Case number (if known) 19-20620GLT
             Name




                                            Disbursement History

Date         Check #   Name                                  Posting Type                                          Amount
MORTGAGE ARR. (Part 2 (b))
04/26/2021   1194704   KEYBANK NA S/B/M FIRST NIAGARA BANK NA
                                                            AMOUNTS DISBURSED TO CREDITOR                            63.04
06/25/2021   1201022   KEYBANK NA S/B/M FIRST NIAGARA BANK NA
                                                            AMOUNTS DISBURSED TO CREDITOR                           298.01
07/26/2021   1204233   KEYBANK NA S/B/M FIRST NIAGARA BANK NA
                                                            AMOUNTS DISBURSED TO CREDITOR                           155.55
08/26/2021   1207357   KEYBANK NA S/B/M FIRST NIAGARA BANK NA
                                                            AMOUNTS DISBURSED TO CREDITOR                           184.70
09/24/2021   1210476   KEYBANK NA S/B/M FIRST NIAGARA BANK NA
                                                            AMOUNTS DISBURSED TO CREDITOR                           184.70
12/23/2021   1219653   KEYBANK NA S/B/M FIRST NIAGARA BANK NA
                                                            AMOUNTS DISBURSED TO CREDITOR                           465.63
09/27/2022   1246362   KEYBANK NA S/B/M FIRST NIAGARA BANK NA
                                                            AMOUNTS DISBURSED TO CREDITOR                           178.28
10/25/2022   1249193   KEYBANK NA S/B/M FIRST NIAGARA BANK NA
                                                            AMOUNTS DISBURSED TO CREDITOR                           339.70
12/22/2022   1254742   KEYBANK NA S/B/M FIRST NIAGARA BANK NA
                                                            AMOUNTS DISBURSED TO CREDITOR                           413.65
02/23/2023   1260097   KEYBANK NA S/B/M FIRST NIAGARA BANK NA
                                                            AMOUNTS DISBURSED TO CREDITOR                           271.00
06/29/2023             KEYBANK NA S/B/M FIRST NIAGARA BANK NA
                                                            REALLOCATION OF PRINCIPAL                             1,017.08
                                                                                                                  3,571.34

MORTGAGE REGULAR PAYMENT (Part 3)
03/19/2020             KEYBANK NA - SCCSSR TO FIRST NIAGARAREALLOCATION
                                                            FUNDING INC OF CONTINUING DEBT                         1,332.00
03/23/2020   1153733   KEYBANK NA - SCCSSR TO FIRST NIAGARAAMOUNTS
                                                            FUNDING INC
                                                                     DISBURSED TO CREDITOR                         1,487.74
04/13/2020             KEYBANK NA - SCCSSR TO FIRST NIAGARAREALLOCATION
                                                            FUNDING INC OF PRINCIPAL                                -148.00
04/27/2020   1157196   KEYBANK NA - SCCSSR TO FIRST NIAGARAAMOUNTS
                                                            FUNDING INC
                                                                     DISBURSED TO CREDITOR                           656.27
05/14/2020             KEYBANK NA S/B/M FIRST NIAGARA BANK NA
                                                            REALLOCATION OF PRINCIPAL                               -148.00
05/26/2020   1160533   KEYBANK NA S/B/M FIRST NIAGARA BANK NA
                                                            AMOUNTS DISBURSED TO CREDITOR                            636.13
06/26/2020   1163667   KEYBANK NA S/B/M FIRST NIAGARA BANK NA
                                                            AMOUNTS DISBURSED TO CREDITOR                            488.13
07/29/2020   1166794   KEYBANK NA S/B/M FIRST NIAGARA BANK NA
                                                            AMOUNTS DISBURSED TO CREDITOR                            497.34
08/25/2020   1169869   KEYBANK NA S/B/M FIRST NIAGARA BANK NA
                                                            AMOUNTS DISBURSED TO CREDITOR                            488.13
09/28/2020   1172956   KEYBANK NA S/B/M FIRST NIAGARA BANK NA
                                                            AMOUNTS DISBURSED TO CREDITOR                            488.13
10/26/2020   1176046   KEYBANK NA S/B/M FIRST NIAGARA BANK NA
                                                            AMOUNTS DISBURSED TO CREDITOR                            488.13
11/24/2020   1179127   KEYBANK NA S/B/M FIRST NIAGARA BANK NA
                                                            AMOUNTS DISBURSED TO CREDITOR                            495.55
01/25/2021   1185038   KEYBANK NA S/B/M FIRST NIAGARA BANK NA
                                                            AMOUNTS DISBURSED TO CREDITOR                            495.55
02/22/2021   1188159   KEYBANK NA S/B/M FIRST NIAGARA BANK NA
                                                            AMOUNTS DISBURSED TO CREDITOR                            499.29
03/26/2021   1191440   KEYBANK NA S/B/M FIRST NIAGARA BANK NA
                                                            AMOUNTS DISBURSED TO CREDITOR                            495.55
04/26/2021   1194704   KEYBANK NA S/B/M FIRST NIAGARA BANK NA
                                                            AMOUNTS DISBURSED TO CREDITOR                            928.06
06/25/2021   1201022   KEYBANK NA S/B/M FIRST NIAGARA BANK NA
                                                            AMOUNTS DISBURSED TO CREDITOR                            680.00
07/26/2021   1204233   KEYBANK NA S/B/M FIRST NIAGARA BANK NA
                                                            AMOUNTS DISBURSED TO CREDITOR                            340.00
08/26/2021   1207357   KEYBANK NA S/B/M FIRST NIAGARA BANK NA
                                                            AMOUNTS DISBURSED TO CREDITOR                            340.00
09/24/2021   1210476   KEYBANK NA S/B/M FIRST NIAGARA BANK NA
                                                            AMOUNTS DISBURSED TO CREDITOR                            340.00
11/22/2021   1216593   KEYBANK NA S/B/M FIRST NIAGARA BANK NA
                                                            AMOUNTS DISBURSED TO CREDITOR                            514.63
12/23/2021   1219653   KEYBANK NA S/B/M FIRST NIAGARA BANK NA
                                                            AMOUNTS DISBURSED TO CREDITOR                            505.37
03/25/2022   1228565   KEYBANK NA S/B/M FIRST NIAGARA BANK NA
                                                            AMOUNTS DISBURSED TO CREDITOR                            485.50
05/25/2022   1234621   KEYBANK NA S/B/M FIRST NIAGARA BANK NA
                                                            AMOUNTS DISBURSED TO CREDITOR                            514.63
06/27/2022   1237644   KEYBANK NA S/B/M FIRST NIAGARA BANK NA
                                                            AMOUNTS DISBURSED TO CREDITOR                            514.63
07/26/2022   1240596   KEYBANK NA S/B/M FIRST NIAGARA BANK NA
                                                            AMOUNTS DISBURSED TO CREDITOR                            679.70
08/24/2022   1243497   KEYBANK NA S/B/M FIRST NIAGARA BANK NA
                                                            AMOUNTS DISBURSED TO CREDITOR                            485.50
09/27/2022   1246362   KEYBANK NA S/B/M FIRST NIAGARA BANK NA
                                                            AMOUNTS DISBURSED TO CREDITOR                            380.04
10/25/2022   1249193   KEYBANK NA S/B/M FIRST NIAGARA BANK NA
                                                            AMOUNTS DISBURSED TO CREDITOR                            340.00
12/22/2022   1254742   KEYBANK NA S/B/M FIRST NIAGARA BANK NA
                                                            AMOUNTS DISBURSED TO CREDITOR                            680.00
02/23/2023   1260097   KEYBANK NA S/B/M FIRST NIAGARA BANK NA
                                                            AMOUNTS DISBURSED TO CREDITOR                            680.00
06/29/2023             KEYBANK NA S/B/M FIRST NIAGARA BANK NA
                                                            REALLOCATION OF CONTINUING DEBT                       -1,017.08
                                                                                                                 15,642.92




Form 4100N                                  Notice of Final Cure Payment                                             page 3
   Case 19-20620-GLT           Doc 95     Filed 06/30/23 Entered 06/30/23 15:56:18                 Desc Main
                                          CERTIFICATE OF
                                          Document       SERVICE
                                                       Page 4 of 4
I hereby certify that on the date shown below, I served a true and correct copy of Notice of Final Cure Payment
upon the following, by regular United States mail, postage prepaid, addressed as follows:

BONNIE KUNKLE
275 WENDEL ROAD
IRWIN, PA 15642

MICHAEL S GEISLER ESQ
1100 PENN CENTER BLVD #704
PITTSBURGH, PA 15235

KEYBANK NA S/B/M FIRST NIAGARA BANK NA
PO BOX 94968
CLEVELAND, OH 44101

KEYBANK NA**
ATTN NOTICES - BANKRUPTCY
4910 TIEDEMAN RD
BROOKLYN, OH 44144




6/30/23                                                        /s/ Roberta Saunier
                                                               Administrative Assistant
                                                               Office of the Chapter 13 Trustee




Form 4100N                                   Notice of Final Cure Payment                                     page 1
